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                   IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII

GULSTAN E. SILVA, JR., as       )         Civil No. 15-00436 HG-KJM
Personal Representative of the  )
Estate of Sheldon Paul Haleck,  )
                                )
               Plaintiff,       )
                                )
          vs.                   )
                                )
CHRISTOPHER CHUNG; SAMANTHA     )
CRITCHLOW; AND STEPHEN KARDASH, )
                                )
                                )
               Defendants.      )
                                )

                        ORDER ON PUNITIVE DAMAGES

I.    BACKGROUND

      A.    Defendants’ Rule 50(a) Motion


      On May 31, 2019, after all the evidence had been presented,

the Defendants made an oral Motion for Judgment as a Matter of

Law pursuant to Federal Rule of Civil Procedure 50(a).           The

Defendants sought judgment as a matter of law in their favor on

four issues:

      (1)   qualified immunity;

      (2)   liability for use of excessive force;

      (3)   causation; and,

      (4)   punitive damages.

      On the same date, the Defendants filed a written Motion in

support of their oral Motion for Judgment As A Matter of Law.


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(ECF No. 365).


      B.    Plaintiff’s Rule 50(a) Motion


      Also on May 31, 2019, Plaintiff made an oral Motion for

Judgment as a Matter of Law pursuant to Fed. R. Civ. P. 50(a).

Plaintiff sought a ruling that the Defendant Officers were liable

for excessive force.      Plaintiff filed a written Memorandum in

support of his oral motion.       (ECF No. 366).

      Plaintiff also requested that the issue of punitive damages

be put before the jury.


      C.    Court’s June 3, 2019 Oral Rulings


      At the hearing on June 3, 2019, the Court issued oral

rulings on the Parties’ Motions.

      The Court DENIED the Plaintiffs’ Rule 50(a) Motion.            The

Court issued a Minute Order setting forth the basis for its

denial of Plaintiff’s Rule 50(a) Motion.         (ECF No. 367).

      The Court GRANTED Defendants’ Motion For Judgment As A

Matter Of Law as to punitive damages thereby denying Plaintiff’s

request to put the issue of punitive damages before the jury.

      The Court DEFERRED RULING PENDING THE JURY VERDICT on the

remaining three portions of Defendants’ Rule 50(a) Motion.




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      D.    Jury Verdict


      On June 6, 2019, the jury returned a verdict in favor of the

Defendants.     (ECF No. 372).    The jury found that the Defendants

did not use excessive force in violation of the Fourth Amendment

to the United States Constitution.


II.   DEFENDANTS’ RULE 50(a) MOTION

      A.    Fed. R. Civ. P. 50(a)


      Rule 50(a)(1) of the Federal Rules of Civil Procedure

provides, as follows:

      If a party has been fully heard on an issue during a
      jury trial and the court finds that a reasonable jury
      would not have a legally sufficient evidentiary basis
      to find for the party on that issue, the court may:

            (A)   resolve the issue against the party; and

            (B)   grant a motion for judgment as a      matter of
                  law against the party on a claim      or defense
                  that, under the controlling law,      can be
                  maintained or defeated only with      a favorable
                  finding on that issue.

      Fed. R. Civ. P. 50(a)(1).

      The standard for judgment as a matter of law mirrors that

for granting summary judgment.        Reeves v. Sanderson Plumbing

Prods., Inc., 530 U.S. 133, 149-50 (2000).         The Court may not

make credibility determinations or weigh evidence when ruling on

a motion for judgment as a matter of law.         Id. at 149.    The Court

must view the evidence in the light most favorable to the


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nonmoving party and draw all reasonable inferences in that

party’s favor when evaluating a motion for judgment as a matter

of law.      Josephs v. Pac. Bell, 443 F.3d 1050, 1062 (9th Cir.

2006).

      A district court can grant a Rule 50(a) motion for judgment

as a matter of law only if there is no legally sufficient basis

for a reasonable jury to find for that party on that issue.

Krechman v. Cnty. of Riverside, 723 F.3d 1104, 1109 (9th Cir.

2013).


      B.      Defendants’ Rule 50(a) Motion Is Moot Because The Jury
              Returned A Verdict In Their Favor


      The advisory committee’s note (1991) to Fed. R. Civ. P. 50

explains that a jury verdict for the moving party moots any issue

raised in a motion for judgment as a matter of law.

      Courts have widely held that where the jury verdict is in

favor of the moving party, the party’s Rule 50(a) motion becomes

moot.      Waters v. Howard Sommers Towing, Inc., 2014 WL 5846758, at

*1 (C.D. Cal. Nov. 10, 2014) (finding that the jury returned a

verdict in favor of the Defendant Officer Ochoa rendered his Rule

50(a) Motion moot); Sanders v. City of New York, 200 F.Supp.2d

404, 405 (S.D. N.Y. 2002) (“Upon the conclusion of their

respective cases-in-chief, the parties cross-moved for judgment

as a matter of law pursuant to Rule 50(a) of the Federal Rules of

Civil Procedure.      The City’s motion for judgment as a matter of

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law is now moot.     The jury returned verdicts in favor of the City

on all claims.”).

      Here, the jury returned a verdict in favor of the

Defendants.     The Defendants’ Rule 50(a) Motion For Judgment As A

Matter Of Law (ECF No. 365) is MOOT.


III. THE WRITTEN BASIS FOR THE COURT’S ORAL RULING AT THE CLOSE
     OF EVIDENCE GRANTING DEFENDANTS’ RULE 50(a) MOTION AS TO
     PUNITIVE DAMAGES ONLY


      A defendant is entitled to judgment as a matter of law on

the issue of punitive damages if the evidence and its inferences

considered as a whole, and viewed in the light most favorable to

the plaintiff, can only reasonably support a defense verdict on

the question of punitive damages.         Ward v. City of San Jose, 967

F.2d 280, 286 (9th Cir. 1991).

      Here, the jury returned a verdict in favor of the

Defendants.     The issue of punitive damages is rendered moot by

the jury’s verdict.      Defendants were not found liable and

Plaintiff was not awarded any damages by the jury, and therefore

punitive damages are not available as a matter of law.           Jackson

v. Lombardi, 2010 WL 3834012, *3 (N.D. Cal. Sept. 28, 2010)

(explaining that, “It is axiomatic that there can be no punitive

damages where compensatory damages have not been awarded,” citing

Deland v. Old Republic Life Ins. Co., 758 F.2d 1331, 1339 n.4

(9th Cir. 1985)) (internal quotation marks and brackets omitted).


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      Even though the issue of punitive damages is moot, the Court

will briefly address the basis for the Court’s oral ruling

granting Defendants’ Motion for Judgment As A Matter Of Law as to

punitive damages.


      A.    Standard For Awarding Punitive Damages


      A jury may award punitive damages pursuant to 42 U.S.C. §

1983 either when a defendant’s conduct was driven by evil motive

or intent, or when it involved a reckless or callous indifference

to the constitutional rights of others.         Dang v. Cross, 422 F.3d

800, 807 (9th Cir. 2005).

      The United States Supreme Court has explained that

malicious, wanton, or oppressive acts or omissions are necessary

predicates for punitive damages pursuant to Section 1983.            Smith

v. Wade, 461 U.S. 30, 56 (1983).          The jury may also be permitted

to assess punitive damages in an action under Section 1983 when

the defendant’s conduct involves reckless or callous indifference

to the federally protected rights of others.          Id.

      When the plaintiff’s theory for awarding punitive damages is

based upon an alleged act of oppression and there is a foundation

in the evidence for an instruction on this theory, the district

court must give such an instruction.         Dang, 422 F.3d at 810-11.




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      B.    There Is No Evidence To Support A Finding of Punitive
            Damages


      There is no evidence presented during the trial that would

allow a reasonable jury to award punitive damages in this case.


Officers’ Testimony


      There is no testimony by any eyewitnesses to support

Plaintiff’s theory of the case.        Defendant Officers Chung,

Critchlow, and Kardash testified.         The Officers’ testimony is not

a basis to find an evil motive or intent when they attempted to

detain the Decedent on March 16, 2015.         Nor does their testimony

support a finding that they acted with a reckless or callous

indifference to the constitutional rights of the Decedent.


Eyewitness Testimony


      Eyewitnesses Sandy Apana and Chad Kumagai testified as to

the incident on March 16, 2015.        Their testimony does not support

a finding that the Defendants acted with any reckless or callous

indifference to the constitutional rights of the Decedent or that

the Officers were driven by evil motive or intent.


Use Of Pepper Spray


      There is no testimony that the Defendants’ use of pepper

spray had any effect on the Decedent.         The Decedent continued to


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evade the Defendant Officers and continued to refuse to obey

their commands despite the use of pepper spray.


Use Of Taser


      Taser expert Dr. Mark Kroll testified that the Decedent

could have received a maximum of one second of shock from the

Taser.    Dr. Kroll testified that the Taser did not cause any

incapacitation of the Decedent.

      The Taser videos show that the Taser did not cause any

neuromuscular incapacitation of the Decedent.          The Decedent

continued to freely move around after the deployments of the

Taser.    The Decedent’s muscles did not seize up as a result of

the use of the Taser.


Medical Expert Testimony


      There is no medical testimony that the use of the Taser

caused the Decedent’s death.       Dr. Christopher Happy, the

pathologist who conducted the autopsy, testified that the Taser

did not play any part in the Decedent’s death.

      Medical expert Dr. Stacey Hail testified that the Taser did

not play any part in the Decedent’s death.

      Dr. Irminne Van Dyken, a treating physician at Queen’s

Medical Center on the night of the incident, testified that she

removed two Taser probes from the Decedent at the emergency room.


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She testified that she had no basis to know how the probes got in

the Decedent’s back.      She stated that she did not know if the

Taser was used, if it worked, or if it caused the Decedent to be

incapacitated.     She was not called as an expert in this case and

did not provide an opinion as to cause of death.


Police Practices


      Police practices expert, Richard Lichten, testified in

support of Plaintiff’s theory of the case.         Mr. Lichten’s

testimony was limited to the issues of police practices and

excessive force and did not address any malicious, oppressive, or

reckless conduct that would allow the jury to award punitive

damages.

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                                CONCLUSION


       Construed in the light most favorable to the Plaintiff,

 there is no evidence to provide a reasonable jury with a basis to

 find that the Defendant Officers acted wantonly, oppressively,

 maliciously, or with reckless disregard to the Decedent’s rights.

 Doi v. Aoki, Civ. No. 10-00639 LEK-RLP, 2012 WL 3100179, *24 (D.

 Haw. July 27, 2012); Ward, 967 F.2d at 286 (finding judgment as a

 matter of law on punitive damages in an excessive force case was

 appropriate where there was “absolutely no evidence” to support

 an award of punitive damages).

       IT IS SO ORDERED.

       Dated: June 19, 2019, Honolulu, Hawaii.




 Gulstan E. Silva, Jr. as Personal Representative of the Estate of
 Sheldon Haleck v. Christopher Chung; Samantha Critchlow; and
 Stephen Kardash, Civil No. 15-00436 HG-KJM; ORDER ON PUNITIVE
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